Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 1 of 106




                  EXHIBIT A


All Documents Filed in State
       Court Action




                  EXHIBIT A
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 2 of F106
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                                                        Transaction # 9928831 : csulezic
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 3 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 4 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 5 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 6 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 7 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 8 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 9 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 10 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 11 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 12 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 13 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 14 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 15 of 106
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                                                               Clerk of the Court
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                                                               Clerk of the Court
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Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 22 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 23 of 106
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Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 25 of 106
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Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 29 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 30 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 31 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 32 of 106
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Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 34 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 35 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 36 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 37 of 106
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Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 39 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 40 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 41 of 106
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                                                               Clerk of the Court
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Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 50 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 51 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 52 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 53 of 106
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Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 55 of 106
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Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 57 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 58 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 59 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 60 of 106
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Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 63 of 106
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                                                               Clerk of the Court
                                                        Transaction # 9928831 : csulezic
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 65 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 66 of 106
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                                                                   CV23-01789
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                                                                  Alicia L. Lerud
                                                                Clerk of the Court
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Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 69 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 70 of 106
 Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 71 of 106



 1   4085
 2   MARK WRAY, #4425
     LAW OFFICES OF MARK WRAY
 3   608 Lander Street
 4
     Reno, Nevada 89509
     (775) 348-8877
 5   (775) 348-8351 fax
     mwray@markwraylaw.com
 6
     Attorneys for Plaintiffs
 7   KYLE KRCH and SANDRA KRCH, TRUSTEES,
     OR THEIR SUCCESSORS IN TRUST, UNDER
 8
     THE KRCH LIVING TRUST, DATED FEBRUARY
 9   4, 2011, AND ANY AMENDMENTS THERETO
10
         SECOND JUDICIAL DISTRICT COURT OF THE STATE OF NEVADA
11
                                    COUNTY OF WASHOE
12
13
     KYLE KRCH AND SANDRA KRCH,                Case No. CV23-01789
14   TRUSTEES, OR THEIR SUCCESSORS
15   IN TRUST, UNDER THE KRCH                  Dept. 3
     LIVING TRUST, DATED FEBRUARY
16   4, 2011, AND ANY AMENDMENTS
17   THERETO,
18                    Plaintiffs,
19
          v.
20
21   NATIONSTAR MORTGAGE LLC, dba
     MR. COOPER, and DOES 1-10,
22
23                    Defendants.

24
25                                        SUMMONS

26        THE STATE OF NEVADA SENDS GREETINGS TO THE ABOVE-NAMED
     DEFENDANTS: NOTICE! YOU HAVE BEEN SUED. THE COURT MAY DECIDE
27   AGAINST YOU WITHOUT YOUR BEING HEARD UNLESS YOU RESPOND
     WITHIN 21 DAYS. READ THE INFORMATION BELOW.
28


                                           1
 Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 72 of 106



 1          TO THE DEFENDANTS: A civil Complaint has been filed by plaintiff against
 2   you.

 3          1. If you wish to defend this lawsuit, you must within 21 days after the Summons
 4
     is served on you, exclusive of the day of service, file with this Court a written pleading in
     response to this Complaint.
 5
             2. Unless you respond, your default will be entered upon application of the
 6
     plaintiffs, and this Court may enter a judgment against you for the relief demanded in the
 7   Complaint, which could result in the taking of money or property or the relief requested
     in the Complaint.
 8
 9         3. If you wish to seek advice of an attorney in this matter, you should do so
     promptly so that your response may be filed on time.
10
11         4. You are required to serve your response upon plaintiff’s attorney, whose
     address is:
12
13          Mark Wray
            LAW OFFICES OF MARK WRAY
14          608 Lander Street
15          Reno, Nevada 89509
            mwray@markwraylaw.com
16          (775) 348-8877
17
                              9th day of October, 2023.
                   DATED this______
18
19
                                                CLERK OF THE COURT
20                                              ALICIA LERUD
21
22                                                 /s/ C. SULEZICH
                                                By_______________________________
23                                                    Deputy

24
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27
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Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 73 of F106
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                                                                  CV23-01789
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                                                                 Alicia L. Lerud
                                                               Clerk of the Court
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Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 74 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 75 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 76 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 77 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 78 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 79 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 80 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 81 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 82 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 83 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 84 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 85 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 86 of 106
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Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 88 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 89 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 90 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 91 of 106
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                                                                Clerk of the Court
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Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 93 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 94 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 95 of 106
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                                                             2023-10-16 10:40:26 AM
                                                                  Alicia L. Lerud
                                                                Clerk of the Court
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                                                                                            Alicia L. Lerud
 1                                                                                        Clerk of the Court
1    BRODY R. WIGHT, ESQ.                                                           Transaction # 9944404 : yviloria
 2   Nevada Bar No. 13615
2    TROUTMAN PEPPER HAMILTON SANDERS LLP
 3   8985 S. Eastern Ave., Ste 200
3    Las Vegas, NV 89123 (Nevada Office)
 4   Tel: (470) 832-5586
4    Fax: (404) 962-6800
 5   brody.wight@troutman.com
5
 6   TROUTMAN PEPPER HAMILTON SANDERS LLP
6    600 Peachtree St. NE # 3000
 7   Atlanta, GA 30308 (Corporate Office)
7
 8   Attorneys for Nationstar Mortgage LLC
8    dba Mr. Cooper
99
10               SECOND JUDICIAL DISTRICT COURT OF THE STATE OF NEVADA
10
11                                          COUNTY OF WASHOE
11
12
12    KYLE KRCH AND SANDRA KRCH,                          Case No.: CV23-01789
13    TRUSTEES, OR THEIR SUCCESSORS IN                    Dept. No.: 3
13    TRUST, UNDER THE KRCH LIVING
14
      TRUST, DATED FEBRUARY 4, 2011, AND
14    ANY AMENDMENTS THERETO.                             NOTICE OF APPEARANCE OF COUNSEL
15
15                       Plaintiffs,
16
16    vs.
17
17    NATIONSTAR MORTGAGE LLC, dba MR.
      COOPER, and DOES 1-10,
18
18
                         Defendants.
19
19

20
20           PLEASE TAKE NOTICE that Brody R. Wight, Esq. of Troutman Pepper Hamilton Sanders
21
21   LLP, enters his appearance as attorney of record for Defendant Nationstar Mortgage LLC dba Mr.
22
22   Cooper, and requests that any and all notices given or required to be given and all papers, pleadings, and
23
23   correspondences served or filed in connection with this case be served upon Brody R. Wight on behalf
24
24   of Defendant at the following address, email address and telephone number.
25
25                            TROUTMAN PEPPER HAMILTON SANDERS LLP
                                    8985 S. Eastern Ave., Suite 200
26
26                                    Las Vegas, Nevada 89123
                                          Tel: (470) 832-5586
27
27                                        Fax: (404) 962-6800
28                                 Email: brody.wight@troutman.com
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         Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 97 of 106



 1
1              The undersigned affirms that this document does not contain the social security number of any
 2
2    person.
 3
3
 4             DATED October 16, 2023.
4                                                  TROUTMAN PEPPER HAMILTON SANDERS LLP
 5
5
 6                                                 /S/ Brody R. Wight
6                                                  BRODY R. WIGHT, ESQ.
 7                                                 Nevada Bar No. 13615
7                                                  8985 S. Eastern Ave., Ste 200
 8                                                 Las Vegas, NV 89123 (Nevada Office)
8                                                  600 Peachtree St. NE # 3000
                                                   Atlanta, GA 30308 (Corporate Office)
99
10                                                 Attorneys for Defendant Nationstar Mortgage LLC
10
                                                   dba Mr. Cooper
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 1
1                                        CERTIFICATE OF SERVICE
 2
2            Pursuant to Nev. R. Civ. P. 5(a), I hereby certify that I am an employee of Troutman Pepper
 3
3    Hamilton Sanders LLP and that on October 16, 2023, I served a true and correct copy of the foregoing
 4
4    NOTICE OF APPEARANCE OF COUNSEL by the following method(s):
 5
5
 6   ☒       Electronic: by submitting electronically for filing and/or service with the Second Judicial
6            District Court’s e-filing system and served on counsel electronically in accordance with the E-
 7           service list to the following listed below:
7
 8           Mark Wray, Esq.                                   Attorney for Plaintiffs
8            Law Offices of Mark Wray
             608 Lander Street
99           Reno, Nevada 89509
10           Email: mwray@markwraylaw.com
10
11
11
12   ☐       United States Mail: By depositing a copy of the above-referenced document for mailing in the
12           United States Mail, first-class postage prepaid, at Las Vegas, Nevada, to the parties listed
13           below at their last-known mailing addresses, on the date above written: N/A
13
14   ☐       Personal Service: By causing to be personally delivered a copy of the above-referenced
14           document to the person(s) listed below: N/A
15
15           I declare that I am employed in the office of a member of the bar of this Court at whose
16
16   discretion the service was made.
17
17
18                                                       /s/ Carla Llarena
18
                                                         An employee of TROUTMAN PEPPER
19
19                                                       HAMILTON SANDERS LLP

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 1                                                                                        Clerk of the Court
1    BRODY R. WIGHT, ESQ.                                                           Transaction # 9944394 : yviloria
 2   Nevada Bar No. 13615
2    TROUTMAN PEPPER HAMILTON SANDERS LLP
 3   8985 S. Eastern Ave., Ste 200
3    Las Vegas, NV 89123 (Nevada Office)
 4   Tel: (470) 832-5586
4    Fax: (404) 962-6800
 5   brody.wight@troutman.com
5
 6   TROUTMAN PEPPER HAMILTON SANDERS LLP
6    600 Peachtree St. NE # 3000
 7   Atlanta, GA 30308 (Corporate Office)
7
 8   Attorneys for Nationstar Mortgage LLC dba Mr. Cooper
8

99                  SECOND JUDICIAL DISTRICT COURT OF THE STATE OF NEVADA
10
10                                            COUNTY OF WASHOE
11
11    KYLE KRCH AND SANDRA KRCH,                           Case No.: CV23-01789
12    TRUSTEES, OR THEIR SUCCESSORS IN                     Dept. No.: 3
12    TRUST, UNDER THE KRCH LIVING
13    TRUST, DATED FEBRUARY 4, 2011, AND
13    ANY AMENDMENTS THERETO.                              INITIAL APPEARANCE FEE
                                                           DISCLOSURE
14
14                         Plaintiffs,
15
      vs.
15
      NATIONSTAR MORTGAGE LLC, dba MR.
16
16    COOPER, and DOES 1-10,
17
17                         Defendants.
18
18             Pursuant to NRS Chapter 19, as amended by Senate Bill 106, filing fees are submitted for parties
19
19   appearing in the above-entitled action as indicated below:
20
20             NATIONSTAR MORTGAGE LLC dba Mr. Cooper……………….……………. $208.00
21
21             TOTAL REMITTED: …………………………………………………………. $208.00
22
22             The undersigned affirms that this document does not contain the social security number of any
23
23   person.
24
24             DATED October 16, 2023.             TROUTMAN PEPPER HAMILTON SANDERS LLP
25
25                                                 /S/ Brody R. Wight
                                                   BRODY R. WIGHT, ESQ., Nevada Bar No. 13615
26
26                                                 8985 S. Eastern Ave., Ste 200
                                                   Las Vegas, NV 89123 (Nevada Office)
27
27                                                 600 Peachtree St. NE # 3000
                                                   Atlanta, GA 30308 (Corporate Office)
28                                                 Attorneys for Nationstar Mortgage LLC dba Mr. Cooper
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         Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 100 of 106



 1
1                                        CERTIFICATE OF SERVICE
 2
2            Pursuant to Nev. R. Civ. P. 5(a), I hereby certify that I am an employee of Troutman Pepper
 3
3    Hamilton Sanders LLP and that on October 16, 2023, I served a true and correct copy of the foregoing
 4
4    INITIAL APPEARANCE FEE DISCLOSURE by the following method(s):
 5
5
 6   ☒       Electronic: by submitting electronically for filing and/or service with the Second Judicial
6            District Court’s e-filing system and served on counsel electronically in accordance with the E-
 7           service list to the following listed below:
7
 8           Mark Wray, Esq.                                   Attorney for Plaintiffs
8            Law Offices of Mark Wray
             608 Lander Street
99           Reno, Nevada 89509
10           Email: mwray@markwraylaw.com
10
11
11
12   ☐       United States Mail: By depositing a copy of the above-referenced document for mailing in the
12           United States Mail, first-class postage prepaid, at Las Vegas, Nevada, to the parties listed
13           below at their last-known mailing addresses, on the date above written: N/A
13
14   ☐       Personal Service: By causing to be personally delivered a copy of the above-referenced
14           document to the person(s) listed below: N/A
15
15           I declare that I am employed in the office of a member of the bar of this Court at whose
16
16   discretion the service was made.
17
17
18                                                       /s/ Carla Llarena
18
                                                         An employee of TROUTMAN PEPPER
19
19                                                       HAMILTON SANDERS LLP

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 1                                                                                   Clerk of the Court
      Code: 2589                                                                   Transaction # 9942603
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 3

 4

 5         IN THE SECOND JUDICIAL DISTRICT COURT OF THE STATE OF NEVADA
                         IN AND FOR THE COUNTY OF WASHOE
 6

 7    KYLE KRCH ETAL,
 8                                                                      Case No. CV23-01789
                          Plaintiffs,                                   Dept. No. 3
 9
            vs.
10

11    NATIONSTAR MORTGAGE LLC DBA
12
      MR. COOPER,

13
                      Defendant.
14    _____________________________________________/
15
                                NOTICE OF STRICKEN DOCUMENT
16

17            The Clerk of the Court hereby strikes the CERTIFICATE OF EMAILING EX PARTE
18    MOTION FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
      filed by Mark Wray, Esq. on October 16, 2023 (Transaction No. 9942538) from the case for
19
      the following reason(s):
20        Document does not have an Affirmation
21    The Clerk of the Court does hereby place the stricken document at a security level of sealed.
      The Court cannot consider the stricken document. If the filing party wants the document to
22
      be considered, it must be re-filed with the noted corrections.
23          Dated: October 16, 2023
24
                                                             ALICIA L. LERUD
                                                             Clerk of the Court
25
                                                             By: /s/Y.Viloria
26                                                           Deputy Clerk
27

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Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 102 of 106
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                                                                  Alicia L. Lerud
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Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 103 of 106
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 104 of 106
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                                                                                Alicia L. Lerud
 1   2610                                                                     Clerk of the Court
                                                                            Transaction # 9949326
 2   MARK WRAY, #4425
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 6
     Attorneys for Plaintiffs
 7   KYLE KRCH and SANDRA KRCH, TRUSTEES,
     OR THEIR SUCCESSORS IN TRUST, UNDER
 8
     THE KRCH LIVING TRUST, DATED FEBRUARY
 9   4, 2011, AND ANY AMENDMENTS THERETO
10
            SECOND JUDICIAL DISTRICT COURT OF THE STATE OF NEVADA
11
                                        COUNTY OF WASHOE
12
13
      KYLE KRCH AND SANDRA KRCH,                    Case No. CV23-01789
14    TRUSTEES, OR THEIR SUCCESSORS
15    IN TRUST, UNDER THE KRCH                      Dept. 3
      LIVING TRUST, DATED FEBRUARY
16    4, 2011, AND ANY AMENDMENTS                   NOTICE OF WITHDRAWAL OF EX
17    THERETO,                                      PARTE MOTION FOR TEMPORARY
                                                    RESTRAINING ORDER AND
18                        Plaintiffs,               PRELIMINARY INJUNCTION
19
            v.
20
21    NATIONSTAR MORTGAGE LLC, dba
      MR. COOPER, and DOES 1-10,
22
23                        Defendants.

24
25         Plaintiffs Kyle Krch and Sandra Krch, Trustees, or Their Successors in Trust,

26   under the Krch Living Trust, dated February 4, 2011, and Any Amendments Thereto, by
27
     their counsel, hereby withdraw their Ex Parte Motion for Temporary Restraining Order
28
     and Preliminary Injunction filed October 14, 2023 together with the Errata to Ex Parte
                                                1
Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 105 of 106



 1   Motion for Temporary Restraining Order and Preliminary Injunction filed October 16,
 2
     2023.
 3
 4
             The undersigned certifies that the foregoing document does not contain the

 5   personal identifying information or Social Security number of any person.
 6
             DATED: October 16, 2023           LAW OFFICES OF MARK WRAY
 7
 8
                                               By _____/s/ Mark Wray___________
 9                                                      MARK WRAY
                                               Attorneys for Plaintiffs
10
                                               KYLE KRCH AND SANDRA KRCH,
11                                             TRUSTEES, OR THEIR SUCCESSORS IN
                                               TRUST, UNDER THE KRCH LIVING
12                                             TRUST, DATED FEBRUARY 4, 2011, AND
13                                             ANY AMENDMENTS THERETO
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Case 3:23-cv-00557-MMD-CSD Document 1-1 Filed 11/09/23 Page 106 of 106



 1                               CERTIFICATE OF SERVICE
 2
           The undersigned employee of the Law Offices of Mark Wray certifies that a true
 3
 4
     copy of the foregoing document was served via the Court’s ECF and case management

 5   system on October 18, 2023 on the following:
 6
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